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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                              Case No. CR06-041L
11          v.                                             ORDER DENYING MOTIONS TO
12                                                         DISMISS RACKETEERING ACT
     RICHARD ALLEN FABEL,                                  THREE
13                 Defendant.
14
15         This matter comes before the Court on Defendant Fabel’s “Motion to Dismiss

16 Racketeering Act 3 From Count 1 of the Third Superseding Indictment” (Dkt. #225) and
17 “Motion to Dismiss Racketeering Act 3” (Dkt. #271). The Government has indicated that it
18 intends to remove Racketeering Act Three from the set of charges that will be contained in the
19 Fourth Superseding Indictment, which it plans to file prior to December 7, 2006. As such, the
20 Court does not believe it is necessary to address the question of dismissal at this time.
21 Defendant’s motions to dismiss (Dkt. #225) (Dkt. #271) are DENIED.
22          DATED this 29th day of November, 2006

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                                              A
                                              Robert S. Lasnik
                                              United States District Judge
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     ORDER DENYING MOTIONS TO
     DISMISS RACKETEERING ACT THREE
